                        UNITED STATES DISTRICT COURT
                                                                            FILED
                        SOUTHERN DISTRICT OF INDIANA                2:30 pm, Sep 25, 2020
                            INDIANAPOLIS DIVISION
                                                                     U.S. DISTRICT COURT
                                                                   SOUTHERN DISTRICT OF INDIANA
                                                                      Roger A.G. Sharpe, Clerk
UNITED STATES OF AMERICA,                      )

                                               )
             v                                 )   Cause No. 1:2O-cr- 255-TWP-TAB-01
                                               )
AMBER SEATS,                                   )

                                               )
      Defendant.                               )




                                   INFORMATION

           [Conspiracy to Distribute Oxycodone - 21 U.S.C. S 846]
      The United States Attorney charges that from January lO,2O2O through

March 19, 2O2O, in the Southern District of Indiana, Indianapolis Division,

AMBER SEATS, defendant herein, did knowingly and intentionally conspire

with other persons to distribute Oxycodone, a Schedule II, Narcotic controlled

substance, in violation of Title 21 , United States Code, Section 8a 1 (a)( 1).

      All of which is in violation of Title 21, United States Code, Section 846.


                                              JOSH J. MINKLER
                                              United States Attorney



                                              B         A. Blackington
                                                         United States Attorney




                                              Cindy J. Cho
                                              Criminal Chief
